     Case 2:18-cr-00050-LGW-BWC Document 486 Filed 03/28/19 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION
  UNITED STATES OF AMERICA

        v.

  JOSE SALGUERO
                                                      NO. 2:18-cr-00050-LGW-BWC-5
                 Defendant




                            MOTION TO WITHDRAW
                   AND INCORPORATED MEMORANDUM OF LAW


       COMES NOW, Jose Salguero, Defendant in the above-captioned action, and respectfully

requests that his undersigned attorney, duly appointed to represent him throughout the pendency

of this action be granted leave to withdraw as his appointed counsel and that substitute counsel be

appointed to represent Defendant for the duration of the proceedings, showing this honorable Court

the following:

                                                 1.

       The undersigned attorney ("Counsel") was duly appointed to serve as attorney for

Defendant Jose Salguero in this case by an order of this Court entered on December, 7 2018.

                                                 2.

       Since the time of his appointment, Counsel has been engaged in the zealous representation

of Defendant's interests by all prudent means.
         Case 2:18-cr-00050-LGW-BWC Document 486 Filed 03/28/19 Page 2 of 4



                                                            3.

           Defendant has unambiguously expressed a strong desire that Counsel cease representing

him in this matter.

                                                            4.

           Following Defendant's clear expression of his desire that Counsel cease representing him

in this matter, Defendant ceased communicating with Counsel and refuses to further assist his

appointed attorney in the preparation of his defense. Accordingly, as a result of this complete

breakdown of communication, Counsel concurs in Defendant's request that this Court grant leave

for Counsel to withdraw and allow for the appointment of substitute counsel.

                                               MEMORANDUM OF LAW

           This case arises from a multi-count multi-defendant indictment by which Defendant was

charged with conspiracy to possess with intent to distribute and to distribute controlled substances

in violation of 21 U.S.C. § 846 and possession with intent to distribute controlled substances in

violation of 21 U.S.C. § 841 (a)(1). Throughout the pendency of this case, it has been the position

of the United States that, upon a conviction on any count of the indictment, the applicable guideline

range at sentencing would be subject to the career offender enhancement set out in §4B1.1 of the

Sentencing Guidelines.1 Counsel has sought to clearly evaluate and explain the likelihood that this



     1
         Section 4B1.1 provides that:

                         A defendant is a career offender if (1) the defendant was at least
                         eighteen years old at the time the defendant committed the instant
                         offense of conviction; (2) the instant offense of conviction is a felony
                         that is either a crime of violence or a controlled substance offense;
                         and (3) the defendant has at least two prior felony convictions of
                         either a crime of violence or a controlled substance offense.

      Although, for the purposes of this Motion, Defendant does not concede that this enhancement is applicable in
this case, Defendant was at least eighteen years of age at the time of the occurrence of the events alleged in the
indictment, each of the offenses alleged in the indictment likely constitute felony controlled substance offenses, and
Defendant does have at least two prior felony convictions arising from the unlawful sale of a controlled substance.
         Case 2:18-cr-00050-LGW-BWC Document 486 Filed 03/28/19 Page 3 of 4



enhancement would be applied at sentencing upon conviction in this case, and to further explain

the likely effect of such enhancement in the context of plea negotiations and a possible guilty

verdict. But, despite Counsel's best efforts in this regard, Defendant has expressed a strong belief

that the lengthy period of confinement that would likely be associated with his conviction in this

case is the direct result of either (1) his counsel's ineffectiveness or (2) his counsel's complicity

with the government's attempt to "railroad" him.2 As a result of this belief, Defendant has

forcefully and unambiguously requested that Counsel immediately cease representing him in all

respects.3 Subsequently, Defendant completely ceased communicating with Counsel and refuses

to further assist his appointed attorney in the preparation of his defense. Because Defendant's

request that his attorney be removed from this case implicates important and complex issues

related to professional ethics and the proper application of the Sixth Amendment, Counsel

proceeded to file this Motion to Withdraw.

          The Constitution provides that“[i]n all criminal prosecutions, the accused shall enjoy the

right ... to have the Assistance of Counsel for his defence.” U.S. Const. amend. VI. When a

Defendant retains the services of a private attorney, the Sixth Amendment safeguards his right “to

choose who will represent him.” United States v. Gonzalez Lopez, 548 U.S. 140, 144, 147, 126

S.Ct. 2557, 165 L.Ed.2d 409 (2006). Indeed, “[t]he right to select counsel of one's choice ... has

been regarded as the root meaning of the constitutional guarantee.” Id. at 147–48, 126 S.Ct. 2557.

          However, an indigent criminal defendant who seeks appointed counsel “does not have a

right to have a particular lawyer represent him nor to demand a different appointed lawyer except



     2
        The expressions generally referenced in this Motion were made in the presence of third-parties and are not
subject to attorney-client privilege. However, Counsel does not intend to reveal the content of any statement made to
him by Defendant.
      3
        Counsel continues to represent Defendant pursuant to the order of this Court and the cannons of professional
ethics, and shall continue to do so until an order of this Court relieves him of that duty.
     Case 2:18-cr-00050-LGW-BWC Document 486 Filed 03/28/19 Page 4 of 4



for good cause.” Thomas v. Wainwright, 767 F.2d 738, 742 (11th Cir.1985) (citation omitted).

Specifically, good cause exists where there is “a fundamental problem, ‘such as a conflict of

interest, a complete breakdown in communication or an irreconcilable conflict which leads to an

apparently unjust verdict.’ ” United States v. Garey, 540 F.3d 1253, 1263 (11th Cir.2008) (en banc)

(quoting United States v. Young, 482 F.2d 993, 995 (5th Cir.1973)).

       In this case, the possible application of the career offender enhancement of §4B1.1 of the

Sentencing Guidelines has caused Defendant to lose faith Counsel's representation of his interests.

Notwithstanding the propriety of this belief, the concomitant complete breakdown in

communication constitutes good cause for the withdrawal of Counsel pursuant to Defendant's

demand. Regardless of Counsel's actual skills and performance, this Motion to Withdraw should

be granted because "if good cause exists, a defendant no longer has effective representation."

United States v. Jimenez-Antunez, 820 F.3d 1267, 1271 (11th Cir. 2016).

         WHEREFORE, Jose Salguero, Defendant herein, respectfully prays that this honorable

Court issue an order GRANTING this Motion to Withdraw, permitting his appointed attorney

Joseph Emanuel to withdraw from as counsel and providing that substitute counsel be appointed

to represent him.

         Respectfully submitted, this 28th day of March, 2019.

                                                  HALL BOOTH SMITH, P.C.


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